                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                   No. 7:12-CV-23-D


PlllLLIP J. SINGER, et al.,                 )
                                            )
                       Plaintiffs,          )
                                            )
               v.                           )                         ORDER
                                            )
TRANS1, INC., et al.                        )
                                            )
                       Defendants.          )


       On May 18, 2018, plaintiffs and Baxano Surgical, Inc. f/k/a TranS1, Inc. ("TranS1"),

Kenneth Reali, Joseph P. Slattery, Richard Randall, and Michael Luetkemeyer (collectively

"defendants") entered into a settlement agreement to settle the above-captioned class action

litigation, subject to this court's preliminary and final approval. See Fed. R. Civ. P. 23. On July 2,

2018, the court granted preliminary approval [D.E. 118]. The court described the factual and legal

background of the case. As summarized in that order, on January 24, 2012, plaintiffs, on behalf of

themselves and others similarly situated, filed a complaint against defendants for securities fraud in

violation of Sections 10(b) and 20(a) of the Securities and Exchange Act of 1934, 15 U.S. C. §§

78j(b) and 78t(a), and 17 C.F.R. § 240.10b-5 ("Rule lOb-S") [D.E. 1]. On May 22,2018, plaintiffs

moved for preliminary approval of a proposed class action settlement [D.E. 113] and filed a

memorandum in support [D.E. 114]. On July 2, 2018, the court granted that motion [D.E. 118].

       Since that date, the parties have worked with the designated settlement administrator, Epiq

Class Action & Claims Solutions, Inc., in order to notify potential settlement class members through

the methods approved by this court. These methods include first class mail to every settlement class·




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member who can be identified through reasonable effort, a posting on a website dedicated to this

litigation, and a posting on Business Wire, a leading publication in press release distribution and

regulatory disclosure. See [D.E. 118] 16; [D.E. 122] 9. On October 29,2018, plaintiffs moved for

final approval of the class action settlement [D.E. 121].

        On November 19, 2018, this court held a final fairness hearing to consider matters relating

to the settlement, including (1) whether the settlement classes should be certified for settlement

purposes only; (2) the fairness, reasonableness, and adequacy of the settlement, the terms of the

settlement agreement, the dismissal with prejudice of the litigation as to defendants, and the entry

of final judgment; and (3) whether class counsel's application for attorney's fees, expenses, and

service awards for the settlement class representatives, and their other costs, should be granted. See

[D.E. 118] 21. This court has carefully considered all arguments made by counsel and has

thoroughly reviewed the record. As explained below, the court finds that the proposed class action

settlement is fair, reasonable, and adequate to all class members, and grants the motion for final

approval of the class action settlement.

                                                  I.

        Federal Rule of Civil Procedure 23(e) provides that "[t]he claims, issues, or defenses of a

~ertified   class may be settled, voluntarily dismissed, or compromised only with the court's

approval." Fed. R. Civ. P. 23(e). Rule23(e)'s primaryconcemis ''the protection of class members

whose rights may not have been given adequate consideration during the settlement negotiations."

Inre JiffY Lube Sees. Litig., 927 F.2d 155, 158 (4th Cir. 1991). Courts generally follow a two-step

procedure in reviewing a proposed settlement. Horton v. Merrill Lynch. Pierce. Fenner & Smith,

Inc., 855 F. Supp. 825, 827 (E.D.N.C. 1994); Beaulieu v. EQ Indus. Servs .. Inc., No. 5:06-CV-400-


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BR, 2009 WL 2208131, at *23 (E.D.N.C. July 22, 2009) (unpublished). First, the court reviews the

settlement 'to determine whether there is "probable cause to notify the class of the proposed

settlement." Horto!!,855 F. Supp. at 827 (quotation omitted); accord Speaks v. U.S. Tobacco Coop..

Inc., 324 F.R.D. 112, 142 (E.D.N.C. 2018); Jnre Outer Banks Power Outage Litig., No. 4:17-CV-

141, 2018 WL 2050141, at *2 (E.D.N.C. May 2, 20 18) (unpublished). Second, after notice has been
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sent to putative class members, the court conducts a final fairness hearing at which "all interested

parties are afforded an opportunity to be heard on the proposed settlement." Horto!!,855 F. Supp.

at 827.

          In analyzing the motion for final approval of the class action settlement, the court first must

determine whether to finally certify the class for settlement. See Speaks, 324 F .R.D. at 133-36. The
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requirements for certification of a settlement class parallel the requirements for certification of a

litigation class. See id. at 135 (collecting cases). The putative class must meet the four Rule 23(a)

prerequisites and fit within one of the three Rule 23(b) categories. See id.; Fed. R. Civ. P. 23(a).

          On July 2, 2018, this court certified the class for purposes of preliminary approval pursuant

to Federal Rule of Civil Procedure 23(a) and(b)(3). See [D.E. 118] 8-11. The court now finds that

certification is appropriate for purposes of the fmal approval of the settlement. As noted, the

settlement class includes "all Persons who purchased or acquired TranS 1 securities (including

through the exercise of warrants or options) during the Class Period who were allegedly damaged

thereby." [D.E. 115-1]      ~   1.28. The class period isthe period between February 23, 2009, and

October 17, 2011. See id. ~ 1.5. Excluded from the settlement class are the defendants, the officers

and directors ofTranS 1 during the class period, members ofthe immediate families ofthe individual

defendants and the officers and directors of TranS 1 during the class perio<f, any entity in which any


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  defendant had a controlling interest during the class period, and the successors, heirs, and assigns

  of any such excluded person. See id. ~ 1.28. Persons who ''timely and validly seek exclusion from

  the settlement class" are also excluded from the settlement class. ld.

          The court finds, for the purpose of final approval of the settlement, and consistent with its

  preliminary approval order, that the requirements of Rule 23(a) are met: (a) the numerous class

  members would make joinder impractical; (b) there are questions of law and fact common to the

  members of the class; (c) the claims of the class representatives are typical of the claims of the

  members ofthe class; and (d) the class representatives and counsel will fairly and adequately protect

  the interests of the class. See Fed. R. Civ. P. 23(a); [D.E. 118] 9-11.

          The court finds that questions of law and fact common to the class members predominate

  over any questions affecting individual class members and that a class action is superior to other

  available methods for fairly and efficiently adjudicating the controversy. See Fed. R. Civ. P.

  23(b)(3); [D.E. 118] 11-14. The court confirms for purposes of final approval that the plaintiff

  named in its preliminary approval order as class representative for settlement purposes only is lead

  plaintiff Phillip J. Singer.

          Pursuant to Rule 23(c)(2)(B) and (e)(1), the court finds that the plan for the distributing

  notice to the class of the settlement constitutes the best notice practicable under the circumstances

  and is reasonably calculated to apprise class members of the pendency of the litigation, the terms of

  the agreement, their right to exclude themselves from the class or to object to any part of the

  settlement, and the binding effect of a judgment on class members who do not exclude themselves.

  The court finds based on the submissions made in connection with the final approval hearing that

, the notice plan has been properly performed and complies with the notice requirements of Rule


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23(c)(2)(B) and due process.

        To approve a proposed settlement, the court must fmd that the settlement is "fair, reasonable,

and adequate." Fed. R. Civ. P. 23(e)(2); see Speaks, 324 F.R.D. at 142 (collecting cases). "The

fairness analysis is intended primarily to ensure that a settlement is reached as a result of good-faith

bargaining at arm's   length~   without collusion." Berry v. Schulman, 807 F.3d 600, 614 (4th Cir.

20 15) (quotation and alteration omitted). In assessing the fairness ofthe proposed settlement, courts

consider the following factors: "(1) the posture of the case at the time settlement was proposed, (2)

the extent of discovery that had been conducted, (3) the circumstances surrounding the negotiations,

and (4) the experience of counsel in the area of class action litigation." Speaks, 324 F.R.D. at 150

(alteration omitted); Jiffy Lube, 927 F.2d at 159.

        The court finds that the case posture was appropriate in that the plaintiffs coordinated their

claims and pleadings and the parties engaged in good-faith, arm's length negotiation. The record

is sufficiently developed to enable the parties to evaluate their positions adequately, especially

because this litigation began in 2012. Counsel for all parties are reputable and experienced, and they

believe that the settlement is fair to all parties after extensive investigation and litigation. Moreover,

the parties participated in extensive settlement negotiations, including mediation. See [D.E. 122]

14. Finally, there is no evidence of collusion. Accordingly, the court finds that the settlement is fair.

        "In assessing the adequacy of the proposed settlement courts consider the following factors:

(1) the relative strength of the plaintiffs' case on the merits, (2) the existence of any difficulties of

proof or strong defenses the plaintiffs are likely to encounter if the case goes to trial, (3) the

anticipated duration and expense of additional litigation, (4) the solvency of the defendants and the

likelihood of recovery on a litigated judgment, and (5) the degree of opposition to the settlement."


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Speaks, 324 F.R.D. at 142 (quotation omitted).

       As discussed in the court's order preliminarily approving the settlement [D.E. 118], plaintiffs

coordinated to file the strongest possible claim against TranS 1. The settlement agreement resulted

from extensive negotiation at arm's length between experienced counsel representing the interests

of the parties. Since TranS 1 dissolved on August 10, 2015, plaintiffs might not be able to recover

the full value of any judgment if plaintiffs litigated to final judgment successfully. Plaintiffs also

would need to overcome numerous defenses, face substantial time and expense in conducting

discovery, and resolve any dispositive motions. Finally, no class members oppose the settlement.

Accordingly, the court fmds that the settlement is adequate.

       "In conducting its fairness analysis, a court need not reach any dispositive conclusions

concerning the merits of the case." Speaks, 324 F.R.D. at 143 (quqtation omitted). The court's

review ofthe facts and law demonstrates that the parties hotly contested certain key issues, including

causation, falsity, and scienter. See [D.E. 122] 10. The litigation even resulted in an appeal to the

United States Court of Appeals for the Fourth Circuit. See id. Given the uncertainty surrounding

numerous legal issues, as well as the complications arising from the dissolution of TranS 1, the court

finds that the settlement provides significant compensation to the class.

       Under the claims program established by the Stipulation and Agreement of Settlement

("stipulation"), the settlement class will receive cash payments in exchange for release of the

disputed claims. See [D.E. 115-1] ~~ 5.0-5 .2. The defendants or defendants's insurance carrier will

pay $3,250,000.00 into the settlement fund (less any attorneys' fees, costs, and incentive awards, and

less any sums already advanced after the court's preliminary approval of settlement). Up to

$250,000 of the settlement fund will go towards notice and administrative costs, and any further


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costs will require a court order. See [D.E. 118] 5. Class counsel will request an award of attorneys'

fees not to exceed $975,000---30% of the settlement amount-and up to $75,000 in out-of-pocket

litigation expenses, as well as $3,000 to compensate the lead plaintiff for his reasonable costs and

expenses. See [D.E. 115-1] ,, 7.0-7.4; [D.E. 115-3] 3; [D.E. 118] 5.

       The settlement fund will be administered: (1) to pay tax expenses; (2) to pay notice and

administration costs; (3) to pay the fee and expense awards to lead counsel to the extent approved

by the court; (4) to reimburse the plaintiff for cost and expenses to the extent allowed by the court;

and (5) to pay claimants in accordance with the stipulation, plan of allocation, or court order. See

[D.E. 115-1] , 6.2; [D.E. 118] 5. All funds that the escrow agent holds shall be deemed and
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considered to be in custodia legis and shall remain subject to the court's jurisdiction until such time

as such funds shall be distributed pursuant to the stipulation or further order(s) of the court. See

[D.E. 118] 5.

       Finally, the class members have reacted favorably to the settlement. Moreover, the court has

not received any objections to the settlement. See [D.E. 127] 1.

                                                  II.

       Upon the Effective Date, lead Plaintiff and each Settlement Class Member (whether or not
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they submit a Proof of Claim or share in the Settlement Fund), and the heirs, representatives,

attorneys, affiliates, executors, trustees, administrators, predecessors, successors, and assigns ofeach

of them, in their capacity as such, shall be deemed to have, and by operation of the court's final
                                                       (

judgment shall have, fully, fmally, and forever waived, released, relinquished, discharged, and

dismissed each and every one of the Settlement Class Claims against each and every one of the

Released Defendant Parties, and shall forever be barred and enjoined from the assertion, institution,


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maintenance, prosecution, or enforcement in any state or federal court or arbitral forum, or in the

court of any foreign jurisdiction, administrative forum, or other forum of any kind, of any and all of

the Settlement Class Claims against any and all of the Released Defendant Parties.

       Upon the Effective Date, the Defendants, and the heirs, representatives, attorneys, affiliates,

executors, trustees, administrators, predecessors, successors, and assigns of each of them, in their

capacity as such, shall be deemed to have, and by operation ofthe court'sjudgment shall have, fully,

finally, and forever waived, released, relinquished, discharged, and dismissed each and every one

ofthe Released Defendants's Claims against each and every one ofthe Released PlaintiffParties and

shall forever be barred and enjoined from the assertion, institution, maintenance, prosecution, or

enforcement in any state or federal court or arbitral forum, or in the court of any foreign jurisdiction,

administrative forum or other forum of any kind, of any and all of the Released Defendants' Claims

against any and all of the Released Plaintiff Parties.

        All persons are barred from commencing, prosecuting, or asserting any barred claims (as

defined below). All barred claims are hereby extinguished, discharged, satisfied, and unenforceable.

If any term of this bar order is held to be unenforceable after the date of entry, such provision shall

be substituted with such other provision as may be necessary to afford all Released Parties the fullest

protection permitted by law from any barred claim. For purposes of this order and the court's final

judgment, "barred claim" means any claim, if any, however styled, whether for indemnification,

contribution, or otherwise, and whether arising under state, federal, or common law, against the

Defendants or Released Parties (including claims asserted by Released Parties against other Released

Parties) where the claim is or arises from a settled claim and the alleged injury to such person arises

from that person's alleged liability to the Settlement Class or any Settlement' Class Member,


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including any claim in which a person seeks to recover from any of the Released Parties (i) any

amounts such person has or might become liable to pay to the Settlement Class or any Settlement

Class Member and/or (ii) any costs, expenses, or attorneys' fees from defending any claim by the

Settlement Class or any Settlement Class Member.

       Notwithstanding the foregoing paragraph, nothing in this order and the court's final

judgment: (I) will bar or constitute a release of any claim by any of the Released Parties for

insurance or reinsurance coverage arising out of, related to, or in connection with this action or the

Settled Claims; or (2) shall prevent any person listed on Exhibit A hereto from pursuing any claim

against any Released Party; if any such perso~ pursues any such claim against any Released Party,

nothing in this order and the court's final judgment, or in the stipulation, shall operate to preclude

such Released Party from (i) asserting any claim of any kind against such person, including any

settled claim (ii) or seeking contribution or indemnity from any person, including any other Released

Party, in respect of the claim made by a person listed on Exhibit A.

       Lead counsel is awarded attorneys' fees in the amount of $975,000, and out-of-pocket

litigation expenses in the amount of $49,242.65, plus any applicable interest. Such amounts shall

be paid from the Settlement Fund within ten business days following the entry of this order. Lead ·

counsel shall thereafter be solely responsible for allocating the attorneys' fees and expenses among

other plaintiffs' counsel in a manner that lead counsel, in good faith, believes reflects the

contributions of such counsel to the initiation, prosecution, and resolution ofthe action. In the event
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that the court's judgment does not become final, and any portion ofthe Fee and Expense Award has

already been paid from the Settlement Fund, lead counsel, and all other plaintiffs' counsel to whom

lead counsel has distributed payments, shall refund the Fee and Expense Award to the Settlement


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Fund pursuant to the stipulation within ten business days of entry of the order rendering the

settlement and judgment non-final, giving notice of the settlement being terminated, or precluding

the Effective Date from occurring.

       Lead plaintiff is awarded the sum of$3,000 as reasonable costs and expenses directly relating

to the representation of the Settlement Glass as provided in 15 U.S.C. § 78u-4(a)(4), such amounts

to be paid from the Settlement Fund upon the Effective Date of the settlement.

       The Court hereby fuids that the proposed Plan of Allocation is a fair and reasonable method

to allocate the Net Settlement Fund among the Settlement Class Members.

       Neither this order and the court's fmal judgment, the Preliminary Approval Order, the

stipulation (including the exhibits thereto), the Memorandum Of Understanding ("MOU"), nor any

of the negotiations, documents or proceedings connected with them shall be deemed to be, or be,

argued to be offered or received: (1) against any of the Defendants as evidence of, or construed as

evidence of any presumption, concession, or admission by any of the Defendants with respect to the

truth of any fact alleged by the Plaintiff in this action or the validity of any claim that has been or

could have been asserted against any of the Defendants in this action, or the deficiency of any

defense that has been or could have been asserted in the action, or of any wrongdoing or liability by

any of the Defendants; (2) against any of the Defendants as evidence of, or construed as evidence

of any presumption, concession, or admission of any fault, misrepresentation, or omission with

respect to any statement or written document approved or made by any of the Defendants, or against

the Plaintiff or any Settlement Class Memper or lead counsel as evidence of, or construed as

evidence of, any infirmity of the claims alleged by the Plaintiff in the action, or of any bad faith,

dilatory motive, or inadequate prosecution of the claims or the action; (3) against any of the


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Defendants, the Plaintiff, or any Settlement Class Member as evidence of, or construed as evidence

of, any presumption, concession, or admission by any of the Defendants, the Plaintiff, or any

Settlement Class Member with respect to any liability, negligence, fault, or wrongdoing as against

any of the Defendants, the Plaintiff, or any Settlement Class Member in any other civil, criminal, or

administrative action or proceeding, other than such proceedings as may be necessary to effectuate

the provisions of this Stipulation, provided that if this stipulation is approved by the court, the

Defendants, the Plaintiff, and any Settlement Class Member may refer to it to effectuate the liability

protection granted to them in the stipulation; (4) against any of the Defendants as evidence of, or
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construed as evidence of, any presumption, concession, or admission by any of them that the

Settlement Amount represents the amount which could or would have been received after trial ofthe

action against them;' (5) against the Plaintiff or any Settlement Class Member as evidence of, or

cons~ed    as evidence of, any presumption, concession, or admission by any of the Plaintiff or any

Settlement Class Member that any of their claims are without merit, or that any defenses asserted

by the Defendants in the action have any merit, or that damages recoverable in the action would not

have exceeded the Settlement Fund; or (6) as evidence of, or construed as evidence of, any

presumption, concession, or admission that class certification is appropriate in this action, except

for purposes of settlement only.

         Notwithstanding the foregoing paragraph, the Settling Parties and other Released Parties may

file or refer to this order and the court's final judgment, the stipulation, the Preliminary Approval

Order, and/or any Proof of Claim Form: (1) to effectuate the liability protections granted in any of

those documents, including without limitation, to support a defense or counterclaim based on the

principles of res judicata, collateral estoppel, release, good-faith settlement, judgment bar or


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reduction, or any theory of clairit preclusion or issue preclusion, or similar defense or counterclaim;

(2) to obtain a judgment reduction under applicable law; (3) to enforce a,ny applicable insurance

policies and any agreements relating thereto; or (4) to enforce the terms of the stipulation and/or this

order and the court's final judgment.

         The court retains exclusive jurisdiction over the Settling Parties for all matters relating to the

action, including the administration, interpretation, effectuation or enforcement of the stipulation,

the settlement, and the court's order and fmaljudgment, and including any application for fees and

expenses incurred in connection with administering and distributing the settlement proceeds to the

Settlement Class Members.

         Without further order of the court, the Settling Parties may agree to reasonable extensions

of time to carry out any of the provisions in the stipulation.

         Any appeals concerning the attorneys' fees and expenses awarded herein, the compensatory

award to lead Plaintiff, or the Plan of Allocation shall not affect, in any manner, the finality of this

order and the court's final judgment.

         In the event that the settlement does not become final and effective in accordance with the ~

terms and conditions set forth in the stipulation, then the stipulation (except as otherwise provided

in~~    2.14 and 8.3 therein, including any amendment(s)), the Preliminary Approval Order (as set

forth   in~   26 thereof), and this order and the court's fmal judgment (except for the preceding

paragraph, this paragraph, and the following paragraph) shall be rendered null and void of no further

force or effect. In that event, all parties shall be deemed to have reverted nunc pro tunc to their

respective status prior to the execution of the MOU, and all parties shall proceed in all respects as

if the MOU and the stipulation had not been executed and the related orders had not been entered,


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without prejudice in any way from the negotiation, fact, or terms of the settlement, and preserving

all oftheir respective positions, claims, and defenses in the action. In such circumstances, all parties

shall thereafter work together to arrive at a mutually agreeable schedule for resuming litigation of

the action.

       If the settlement and judgment do not become final, or the settlement is terminated in

accordance with the terms and conditions set forth in the stipulation, within ten business days of
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entry of the order rendering the settlement and judgment non-final or notice of the settlement being
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terminated, all monies then held in the Notice & Administration Fund and the Settlement Fund,

including interest earned thereon, shall be returned to the paying party per its instructions, except for

any monies actually incurred and paid or payable for Notice & Administration Costs and Taxes.

Under those circumstances, lead counsel shall undertake to return those amounts by taking all steps

necessary to cause the escrow agent to make the foregoing repayments and, at the request of

Defendants' counsel, to apply for and repay to the paying party the proceeds of any tax refund owed

on the amounts held in those accounts.          Plaintiff and the Settlement Class shall have no

responsibility for the return of such consideration.

       Any court orders entered during this action relating to the confidentiality ofinformation shall

survive this settlement.

                                                  III.

        In sum, the court GRANTS the plaintiffs' motions for final approval of the class action

settlement [D.E. 121] and for an awa.rd of attorneys' fees, reimbursement of expenses, and a

compensatory award to lead plaintiff [D.E. 123]. The court will enter a final judgment consistent

with this order.


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SO ORDERED.   This~   day ofNovember 2018.




                                       United States District Judge




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